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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

VS.                                  CASE NO. 22-50011-001

BRIAN CLEAVELAND                                                                      DEFENDANT


              MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

         Pursuant to the provisions of 28 U.S.C. § 636(b)(1) and (3), Local Rule 72.1 ¶ XII, and

General Order No. 40, this matter was referred to the undersigned for the purposes of conducting

a plea hearing pursuant to Rule 11 of the Federal Rules of Criminal Procedure. Such a hearing was

conducted on May 11, 2022, and, pursuant to a written plea agreement, the Defendant, Brian

Cleaveland, entered pleas of guilt to Count One & Two of the Indictment, charging him with receipt

of child pornography in violation of 18 U.S.C. §§ 2252A(a)(2) and (b)(1), and agreed to entry of a

Preliminary Order of Forfeiture. The plea agreement provides that if the Court accepts the plea

agreement, once the Court has pronounced sentence, the United States will move to dismiss the

remaining counts against Defendant contained in the Indictment.

         After conducting the hearing in the form and manner prescribed by Rule 11, the undersigned

finds:

         1.     The Defendant, after consultation with his counsel, has knowingly and voluntarily

consented, both in writing in the plea agreement and on the record at the hearing, to the entry of his

guilty pleas before the undersigned, with Defendant’s pleas of guilt subject to final approval by

United States District Judge Timothy L. Brooks.

         2.     The Defendant and the Government have entered into a written plea agreement which

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has been disclosed in open court pursuant to Rule 11(c)(2), and the undersigned has directed that

the plea agreement be filed. (ECF No. 19).

        3.      Defendant is fully competent and capable of entering informed pleas of guilt;

Defendant is aware of the nature of the charges, the applicable maximum penalties, including a

mandatory minimum term of imprisonment, and the consequences of the guilty plea; Defendant is

fully satisfied with his counsel and has had sufficient time to consult with counsel; and the plea of

guilt is knowing and voluntary and supported by an independent basis in fact containing each of the

essential elements of the offense contained in Count Two of the Indictment.

        4.      The Defendant understands his constitutional and statutory rights and wishes to waive

these rights.

        5.      The parties were informed, both in writing in the plea agreement and on the record

at the hearing, of their right to file written objections within fourteen (14) days after receipt of this

Report and Recommendation. To expedite acceptance of the guilty pleas, the parties waived, both

on the record and in writing in the plea agreement, their right to file objections.

        Based on the foregoing, the undersigned recommends that the guilty pleas be accepted. The

written plea agreement will be subject to approval by the District Judge at sentencing.

        DATED this 11th day of May 2022.



                                                CHRISTY COMSTOCK
                                                UNITED STATES MAGISTRATE JUDGE




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